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         EXHIBIT C
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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

VALERIE MILAN MENDOZA         §
                              §
V.                            §                CIVIL ACTION NO. 4:17-CV-01038
                              §
THE TRAVELERS HOME AND MARINE §
INSURANCE COMPANY,            §
CHARLESTON PRINCETON II, AND  §
CLEVELAND STIFF, JUNIOR       §

                   DEFENDANT’S NOTICE OF REMOVAL
               EXHIBIT C: COPIES OF PLEADINGS ASSERTING
         CAUSES OF ACTION AND ALL ANSWERS TO SUCH PLEADINGS

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

        COMES NOW, The Travelers Home and Marine Insurance Company, a

defendant in the above entitled and numbered cause, and files copies of all pleadings

asserting causes of action and all answers to such pleadings as required by Local Rule

81.2.
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                                 CAUSE NO. 2017-13247

VALERIE MILAN MENDOZA                      §         IN THE DISTRICT COURT OF
                                           §
VS.                                        §
                                           §
THE TRAVELERS HOME AND                     §         HARRIS COUNTY, TEXAS
MARINE INSURANCE COMPANY,                  §
CHARLESTON PRINCETON II,                   §
AND CLEVELAND STIFF, JUNIOR                §         113TH JUDICIAL DISTRICT

                          DEFENDANT’S ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, The Travelers Home and Marine Insurance Company, one of the

defendants in the above entitled and numbered cause, and files this its original answer

to the plaintiff’s original petition on file herein, and in support thereof would respectfully

show the Court as follows:

                                               I.
        The defendant hereby generally denies the allegations contained in the plaintiff’s

petition on file herein pursuant to Rule 92 of the Texas Rules of Civil Procedure, and

thus asserts its privilege of insisting that such allegations be proven by a preponderance

of credible evidence.

                                               II.
        Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, the defendant

notifies all parties to this lawsuit of the defendant’s intent to introduce as evidence at

any pretrial proceeding or at trial any document produced by any party in discovery in

this lawsuit.
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                                            III.

       The defendant specifically reserves the right to amend its answer to plead any

affirmative defenses or other matters that must be specially pled and to assert any

counterclaims or third-party claims it may have after discovery in this case is complete.

       WHEREFORE, PREMISES CONSIDERED, the defendant, The Travelers Home

and Marine Insurance Company, moves and prays the Court that upon trial hereof, the

plaintiff recover nothing, and that the defendant go hence with its costs, and for such

other and further relief, both general and special, legal and equitable, to which

defendant may show itself justly entitled to receive.

                                                   Respectfully submitted,

                                                   ORGAIN BELL & TUCKER, LLP
                                                   P O Box 1751
                                                   Beaumont, TX 77704-1751
                                                   (409) 838-6412
                                                   (409) 838-6959 facsimile

                                                   /s/ Greg C. Wilkins
                                                   Greg C. Wilkins
                                                   State Bar No. 00797669
                                                   gcw@obt.com
                                                   Warren B. Wise
                                                   State Bar No. 24093437
                                                   wwise@obt.com

                                                   ATTORNEYS FOR DEFENDANT,
                                                   THE TRAVELERS HOME AND
                                                   MARINE INSURANCE COMPANY




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                              CERTIFICATE OF SERVICE

        I do hereby certify that on the 3rd day of April, 2017, I electronically filed the
foregoing with the Harris County District Clerk via eFile Texas which will send
notification of such filing to each counsel of record.

                                                /s/ Greg C. Wilkins
                                                  Greg C. Wilkins




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                                CAUSE NO. 2017-13247

VALERIE MILAN MENDOZA                     §         IN THE DISTRICT COURT OF
                                          §
VS.                                       §
                                          §
THE TRAVELERS HOME AND                    §         HARRIS COUNTY, TEXAS
MARINE INSURANCE COMPANY,                 §
CHARLESTON PRINCETON II,                  §
AND CLEVELAND STIFF, JUNIOR               §         113TH JUDICIAL DISTRICT

                          DEFENDANT’S ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, Charleston Princeton II, one of the defendants in the above

entitled and numbered cause, and files this his original answer to the plaintiff’s original

petition on file herein, and in support thereof would respectfully show the Court as

follows:

                                              I.
        The defendant hereby generally denies the allegations contained in the plaintiff’s

petition on file herein pursuant to Rule 92 of the Texas Rules of Civil Procedure, and

thus asserts his privilege of insisting that such allegations be proven by a

preponderance of credible evidence.

                                              II.
        Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, the defendant

notifies all parties to this lawsuit of the defendant’s intent to introduce as evidence at

any pretrial proceeding or at trial any document produced by any party in discovery in

this lawsuit.
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                                           III.

       The defendant specifically reserves the right to amend his answer to plead any

affirmative defenses or other matters that must be specially pled and to assert any

counterclaims or third-party claims he may have after discovery in this case is complete.

       WHEREFORE, PREMISES CONSIDERED, the defendant, Charleston Princeton

II, moves and prays the Court that upon trial hereof, the plaintiff recover nothing, and

that the defendant go hence with his costs, and for such other and further relief, both

general and special, legal and equitable, to which defendant may show himself justly

entitled to receive.

                                                  Respectfully submitted,

                                                  ORGAIN BELL & TUCKER, LLP
                                                  P O Box 1751
                                                  Beaumont, TX 77704-1751
                                                  (409) 838-6412
                                                  (409) 838-6959 facsimile

                                                  /s/ Greg C. Wilkins
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                                                  Warren B. Wise
                                                  State Bar No. 24075299
                                                  wwise@obt.com

                                                  ATTORNEYS FOR DEFENDANT,
                                                  CHARLESTON PRINCETON II




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                              CERTIFICATE OF SERVICE

        I do hereby certify that on the 3rd day of April, 2017, I electronically filed the
foregoing with the Harris County District Clerk via eFile Texas which will send
notification of such filing to each counsel of record.

                                                /s/ Greg C. Wilkins
                                                  Greg C. Wilkins




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